                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                           NASHVILLE DIVISION

DAVID EARL MILLER                              )
NICHOLAS TODD SUTTON                           )
STEPHEN MICHAEL WEST                           )     No. 3:18-cv-1234
TERRY LYNN KING                                )
                                               )     Judge Campbell
                                               )
                                               )     Death Penalty Case
        Plaintiffs                             )     Execution date Dec. 6, 2018
                                               )      for David Miller
v.                                             )
                                               )
TONY PARKER, Commissioner,                     )
Tennessee Department of Correction,            )
in his official capacity,                      )
                                               )
        and                                    )
                                               )
TONY MAYS, Warden,                             )
Riverbend Maximum Security                     )
Institution, in his official capacity,         )
                                               )
Defendants.                                    )

     MEMORANDUM IN SUPPORT OF MOTION FOR RECONSIDERATION OF
        ORDER ON MOTION FOR TEMPORARY RESTRAINING ORDER
          (AFTER NOTICE) AND/OR PRELIMINARY INJUNCTION

        Plaintiff David Earl Miller, by and through counsel in the above matter,

submits this memorandum of law in support of his contemporaneously filed Motion

for Reconsideration of Order on Motion for Temporary Restraining Order (After

Notice) and/or Preliminary Injunction.

        For the reasons discussed herein, this Court should reconsider its order (Doc.

20) dated November 15, 2018, that denies an injunction of Defendants, their agents,

and assigns from presenting Plaintiff Miller with the “Affidavit Concerning Method




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of Execution” (or “method of execution form”) contained in Tennessee’s July 5, 2018

Lethal Injection Protocol (and/or from requiring Miller to return an executed

method of execution form on or before November 20, 2018, to avoid execution under

Tennessee’s July 5, 2018 Lethal Injection Protocol) and further from carrying out

the execution of Plaintiff Miller presently set for the 6th day of December, 2018 by

any means, until such time as a final order allowing the same has been entered

herein.

                                    ARGUMENT

I.        Count Four

        Plaintiffs contend Tennessee’s July 5th execution protocol deprives them of

the opportunity to challenge the constitutionality of electrocution because they are

coerced into “choosing” to be executed by electrocution to avoid experiencing the

harsher punishment of lethal injection. Complaint, Doc. 1 PageID# 124-27. In

particular, Plaintiffs allege: “The July 5th Protocol compels Plaintiffs to abandon

the Eighth Amendment right not be tortured and mutilated in the electric chair, by

threatening to subject them to the prolonged and excruciating pain of suffocation

and internal chemical burns under the July 5th lethal injection protocol.”

Complaint, Doc. 1, PageID# 126, ¶655. An injunction to prohibit Defendants from

presenting Plaintiff Miller with the Affidavit Concerning Method of Execution is

requested to prevent that part of the July 5th Protocol from having an effect on

Plaintiff Miller’s constitutional rights. Injunctive relief based on this count was

denied on the authority of Stewart v. LaGrand, 526 U.S. 115, 119 (1999) and



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Zagorski v. Haslam, No. 18-6145, 2018 WL 5734458 (6th Cir. Oct. 31, 2018), and the

resulting determination that Plaintiffs do not have a substantial likelihood of

success on Count Four. Order, Doc. 20, PageID# 1705.

      A.     The resolution of the Zagorski litigation does not undermine
             the substantial likelihood of success on Count Four. Zagorski
             was not similarly situated to the Plaintiffs here.

      Under Tennessee’s current execution protocol, if an inmate wishes to avoid a

substantial risk of unnecessary and severe pain during the 20-minute lethal

injection procedure because it is a harsher punishment than the sentence imposed—

which poses a substantial risk of unnecessary and severe pain during the 6-minute

electrocution procedure—Tennessee requires the inmate to “choose” death by

electrocution and thereby potentially waive the right to challenge electrocution as

cruel and unusual punishment. In other words, the protocol coerces inmates to

waive their constitutional rights against an unnecessarily painful and mutilating

punishment and submit to an unconstitutional method of execution. The way

Tennessee’s protocol operates and the effect of the Affidavit of Execution Method is

uncontested. The forced deprivation of constitutional rights constitutes irreparable

harm and the complaint presents serious questions going to the merits of this claim.

      The decision to deny the requested injunctive relief should be reconsidered

because neither LaGrand nor Zagorski address the due process violation alleged by

the complaint. Those cases address whether inmates may challenge the

constitutionality of a method of execution under the Eighth Amendment after they

choose and insist upon being executed by that method. In both cases the courts held



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that the inmates waived any Eighth Amendment claim against the method of

execution that they expressly requested. LaGrand, 526 U.S. at 119; Zagorski, 2018

WL 5734458 at *1. In other words, because the inmates affirmatively elected a

method of execution they waived any right to challenge that method.

       Neither LaGrand nor Zagorski apply in this case because Plaintiff Miller has

not elected a method of execution.1 Instead, he objects to the election provisions of

Tennessee’s protocol as a denial of due process (which compel him to simultaneously

select an unconstitutional method of execution and waive all claims against it). The

protocol threatens Plaintiff Miller with a constitutionally-impermissible (under the

ex post facto clause) execution by lethal injection unless he completes the Affidavit

Concerning Method of Execution demanding to be executed by constitutionally-

impermissible (under the Eighth Amendment) electrocution. The election provisions

utilize coercion to obtain a waiver of rights: they have a preclusive effect against the

free exercise of the inmate’s right to be heard on the constitutionality of Tennessee’s

electrocution protocol. Count Four alleges a Fourteenth Amendment claim, not an

Eighth Amendment claim.

       An injunction should be granted.

       B.    The request for an injunction should be reconsidered based on
             changing circumstances.

       In Tennessee, lethal injection is the general method of carrying out the

punishment of death. Tenn. Code Ann. § 40-23-114(a). Three circumstances direct


1This fact is recognized in the Order denying injunctive relief on Count One. Order,
Doc. 20, PageID# 700.

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that electrocution, instead of lethal injection, will be the method of execution: (1) an

inmate signs a waiver of “the right to be executed by lethal injection,” Tenn. Code

Ann. § 40-23-114(b); (2) lethal injection is held to be unconstitutional, Tenn. Code

Ann. § 40-23-114(e)(1); and (3) the commissioner of correction certifies to the

governor that an ingredient to the lethal injection protocol is unavailable, Tenn.

Code Ann. § 40-23-114(e)(2).

      Circumstances indicate that Defendant Parker will certify he does not have

one or more drugs for Miller’s execution. An injunction is required to preserve the

status quo and provide an opportunity for Plaintiff Miller to exercise a voluntary,

knowing, and intelligent decision regarding the Affidavit Concerning Method of

Execution.

             1.     Defendants are withholding critical information from
                    Plaintiff Miller.

      Plaintiff Miller has requested information from the Warden that will inform

any selection of a method of execution so that Miller may make a knowing,

voluntary and intelligent selection and waiver of either his rights under the ex post

facto clause or his rights under Eighth Amendment. Letter from Attorney Kissinger

to Warden Mays. (Attachment A). Miller asked for receipt of the information seven

days before the Warden’s effective date for the Affidavit Concerning Execution

Method. Id. Defendants have failed to respond.

      For Miller to waive his ex post facto rights and submit to lethal injection he

requires information about the drugs intended for his execution. Allegations in the

complaint establish that aspects of, and deviations from, Tennessee’s July 5th

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Protocol—as applied—increase the risk of harm. See e.g. Complaint, Doc. 1,

PageID# 47, ¶230; PageID# 50, ¶¶237-239; PageID# 93, ¶¶453-458; PageID# 110-

16. Miller’s request for information about the lethal injection drugs relates directly

to concerns raised in the complaint. The information must be provided for any

waiver of rights to be valid.

       For Miller to waive his Eighth Amendment rights and submit to

electrocution he requires information about Edmond Zagorski’s execution in the

electric chair. Allegations in the complaint establish that aspects of Tennessee’s

Electrocution Protocol—as applied—increase the risk of harm. See e.g. Complaint,

Doc.1, PageID# 50-56, ¶¶242-266; PageID# 59, ¶¶280-281; PageID# 61-63, ¶¶285-

288. Miller’s request for information about the electrocution of Mr. Zagorski relates

directly to concerns raised in the complaint.2 The information must be provided for

any waiver of rights to be valid.

             2.     The protocol provisions and the Warden’s deadline
                    regarding the Affidavit Concerning Execution Method
                    are arbitrary.

       Warden Mays has informed Plaintiff Miller that his method of execution form

must be received by 5 p.m. on November 20, 2018. Warden Mays’ letter to Attorney




2 Inaddition, information is required to account for the time discrepancy between
Mr. Zagorski’s execution and the Electrocution Protocol. The actual execution took
longer than indicated by the protocol. The duration of each method of execution is a
significant factor when selecting a method. Defendants have not responded to a
public records request seeking records related to Mr. Zagorski’s execution. TPRA
request, Attachment B. The office of the medical examiner has yet to disclose
records pursuant to a public records request. Tennessee Public Records Act
(“TPRA”) request to Medical Examiner, Attachment C.

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Kissinger, Doc.19-2, PageID# 1435. An injunction against the protocol provisions

regarding the Affidavit of Execution Method becoming effective on November 20,

2018 will not prejudice Defendants because that date is arbitrary in relation to

Defendant’s ability to carry-out an execution. For example, although the form is to

be presented to an inmate 30 days before the execution, Defendants presented Billy

Ray Irick with the form five days earlier, on day 35.3 Abdur’Rahman, et al. v.

Parker, et al., M2018-01385-SC-RDO-CV, Tr. Vol. VI, pp. 1655, 1659-60. 4

        In addition, Edmund Zagorski refused to sign the method of execution form

when it was presented to him in accordance with Tennessee’s lethal injection

protocol. Order, Zagorski v. Haslam, No. 3:18-cv-01035 (M.D. Tenn. Oct. 10, 2018),

Doc. 8, PageID# 380. According to the form, refusal to sign results in the method of

execution defaulting to lethal injection. Tennessee Department of Corrections

(“TDOC”) provided notice to Mr. Zagorski 15 days before the scheduled execution

date that the lethal injection protocol would be utilized. Three days before his




3Plaintiffs recognize the provision states the form will be presented “at least 30
days before the execution,” however, the legal significance of the method of
execution form requires regularity and foreseeability so that the inmate’s attorney
may be present when the form is presented. It is Defendants’ practice to allow the
presence of the inmate’s attorney at the time the form is presented.
4 TheAbdur’Rahman Davidson County Chancery Court technical record and
transcripts of proceedings are filed with the Tennessee Supreme Court in
Abdur’Rahman, et al. v. Parker, et al., M2018-01385-SC-RDO-CV (“Abdur’Rahman
Appeal”). Cites to the Technical Record are “Vol.” followed by the corresponding
Roman Numeral for the volume number, and “p. or pp.” for the consecutively
numbered pages of the Technical Record that are cited. Cites to the transcript of
proceedings are “Tr. Vol.” followed by the corresponding Roman Numeral for the
volume number, and “p. or pp.” for the consecutively numbered pages of the
transcript volume that are cited.
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execution date, Mr. Zagorski submitted a notarized letter (in lieu of the method of

execution form) expressly requesting electrocution. Order, Zagorski v. Haslam, No.

3:18-cv-01035, (M.D. Tenn. Oct. 10, 2018) Doc.8, PageID# 379. Mr. Zagorski filed

suit and obtained an injunction that provided Defendants must carry-out the

execution using the electric chair. Id. Defendants did not appeal this order and on

November 1, 2018, they electrocuted Mr. Zagorski. The fact that Mr. Zagorski

selected an execution method only three days before the scheduled execution date

did not impede Defendants’ ability to conduct the execution.5

       The terms of the July 5th Protocol regarding the execution method form have

little impact on Defendants’ ability to execute inmates. In contrast, the terms

greatly impact an inmate’s constitutional rights and dictate the amount of

unnecessary pain that is suffered under the July 5th Protocol. Tennessee’s lethal

injection protocol states that the Warden will present the inmate with the Affidavit

Concerning Method of Execution Form (“method of execution form”) in order “to

select electrocution or lethal injection as a legal means of execution at least 30 days

before the execution.” Lethal Injection Protocol 7/5/2018, Doc. 1-5, PageID# 388. An

inmate’s execution will be carried out by lethal injection if he does not complete the

form. Id., PageID# 462




5 Although the Governor issued a ten-day reprieve to allow time for Defendants to
prepare for the execution by electrocution, recently obtained records indicate
Defendants were able to carry-out an electrocution on the original execution date.
Attach F, Electric Chair Training.

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      Thirty-eight (38) days before Plaintiff David Miller’s scheduled execution

date (on October 29, 2018), he sent the Warden a written objection to being

presented with the method of execution form. Letter from Attorney Kissinger to

Warden Mays, Attachment D.

      On November 2, 2018, Plaintiff David Miller filed this lawsuit and a motion

for a preliminary injunction prohibiting TDOC from presenting Miller with the

method of execution form.

      The Warden responded on November 6, 2018, saying that Miller’s method of

execution form must be received by 5 p.m. on November 20, 2018. Warden Mays’

letter to Attorney Kissinger, Doc. 19-2, PageID# 1435. This deadline is one day

before TDOC is required to provide Miller with notice of the method of execution

that it will use to carry out his death sentence. Order, Attachment G. The July 5th

Protocol, however, allows an inmate to change the execution method 14 days before

the execution. Order, Zagorski v. Haslam, No. 3:18-cv-01035 (M.D. Tenn. Oct. 10,

2018), Doc. 8, PageID# 380. In this case, the last day according to the protocol that

Miller could provide an effective Affidavit of Execution Method is November 22nd;

two days after the date designated by Defendant Mays and one day after

Defendants must disclose the method of execution they intend to utilize.

      Information recently learned by Plaintiffs indicates Defendants likely will

use the electric chair, not a lethal injection, to execute Miller. Defendants do not




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have an inventory of lethal injection drugs.6 In addition, after the time that

Defendants could have received compounded drugs for the execution of Edmund

Zagorski, a news report was published about a compounding pharmacy that appears

to be The news reporter contacted the pharmacy and its majority owner repeatedly

for comment. Now that the pharmacy and its majority owner knows it has been

connected to executions in Tennessee it is unlikely they will continue to supply

Defendants with drugs for executions. Thus, Plaintiffs reasonably believe that

Defendants currently do not have a supplier of midazolam, vecuronium bromide,

and/or potassium chloride. Without a supply of drugs necessary to carry out the

midazolam-based three-drug protocol, Defendants will utilize the electrocution

protocol for Miller’s executions.

        Defendants must reveal to Miller on November 21st how they intend to

execute him. If defendants reveal they will use the electric chair, Miller has a

constitutional right to be heard on his Eighth Amendment claim against

electrocution (Count Two). Defendants, however, have set November 20th as the

deadline for Miller’s Affidavit Concerning Execution Method. This deadline forces

Miller to select electrocution if he wishes to avoid a 20-minute lethal injection




6 Tennessee’s lethal injection protocol requires an inventory or record of drugs in a
permanently bound ledger. Lethal Injection Protocol 7/5/2018, Doc. 1-5, PageID#
411. In response to a public records request that included copies of the drug
inventory, General Counsel for TDOC states: “There are no responsive
records/documents in TDOC’s possession[.]” Letter from Ms. Inglis, Attachment E.
There has been no response to an additional public records request seeking records
related to the drugs intended for use in the execution of Plaintiff Miller. TPRA
request, Attachment C.

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procedure that is substantially more painful and unconstitutional under the ex post

facto clause. Stated differently, the designation of November 20th as the effective

date for the Affidavit Concerning Execution Method will coerce Miller to select

electrocution to avoid worse suffering under the midazolam-based three-drug

protocol. If Miller makes such a selection, Defendants will announce on November

21st that they will electrocute Miller. Defendants will also assert waiver against

any attempt by Miller to vindicate his Eighth Amendment rights against

electrocution. Given these circumstances, the November 20th deadline orchestrates

an involuntary, unknowing waiver of constitutional rights.

      Defendants’ designation of November 20, 2018 as the effective date for

Plaintiff Miller’s Affidavit Concerning Execution Method is arbitrary in relation to

their ability to execute Miller on December 6th. Defendants have conducted

executions after obtaining an inmate’s selection of execution method on a date other

than that contemplated by the July 5th Protocol. Whether they obtain Miller’s

selection on November 7th (the date dictated by the protocol), November 20th (the

date assigned by Defendant Mays) or November 30th, Defendants have the ability

to electrocute Miller on December 6th. On the other hand, if Defendants are not

enjoined from designating November 20th as the effective date for election of an

execution method, Miller will suffer irreparable harm. He will be unable to make an

informed decision because Defendants have not provided him important

information regarding the drugs to be used for the midazolam-based three-drug

protocol or information on the electrocution of Edmund Zagorski. In addition, Miller



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will have been coerced to waive his Eighth Amendment rights and denied an

opportunity to demonstrate that electrocution is unconstitutional before Defendants

reveal that they will use the electrocution protocol to execute him.

II.     Count Three

        A.    Facial Challenge

        Res judicata does not bar review of Count Three to the extent it raises a

facial challenge arising out of the July 5, 2018 Protocol because the claims asserted

by Miller, Sutton, and West in Count Three arose from a different transaction or

event than the claims asserted in Abdur’Rahman.

        In its Memorandum and Order denying, in part, Plaintiffs’ request for

temporary and/or preliminary injunctive relief (Doc. 20) the Court found that

Abdur’Rahman, et al. v. Parker, et al., No. M2018-01385-SC-RDO-CV, 2018 WL

4858002 (Tenn. October 8, 2018), held that “that the trial court properly focused

litigation on the July 5 Protocol because it did not present ‘a substantial change to

the lethal injection protocol for purposes of this facial challenge’ and that “Plaintiffs

failed to carry their burden to establish that Tennessee’s current three-drug lethal

injection protocol [i.e., the July 5, 2018 Protocol] constitutes cruel and unusual

punishment under the Eighth Amendment to the United States Constitution.”

Mem. and Order, Doc. 20, p.7, PageID# 1702. Accordingly, the Court found

“Defendants correctly point out that any7 facial challenge to the protocol is barred




7 Plaintiffs presume that both this Court’s order and Defendants’ argument extend
to only those Plaintiffs here who were also party to Abdur’Rahman. See, State ex rel.
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by res judicata in light of the Tennessee Supreme Court’s recent ruling that the

July 5 protocol is constitutional.” Mem. and Order, Doc. 20, p.7, PageID# 1702.

Plaintiffs, respectfully suggest the court’s order overlooks that the Tennessee law of

res judicata requires that the party asserting the defense demonstrate, inter alia,

that the claims asserted by the party in the current action arise from the same

transaction or event as the claims asserted by the same party in a prior action and

that the prior court decided those claims on the merits.

         Tennessee law8 dictates that claims are the “same” for the purpose of res

judicata when they arise from the same transaction or event. Creech v. Addington,

281 S.W.3d 363, 381 (Tenn. 2009). Here, there is no doubt but that the event which

gave rise to the causes of action these Plaintiffs pursued in Abdur’Rahman by

Miller, Sutton, and West was Tennessee’s adoption of the January 8, 2018 Protocol.

There is similarly no doubt that, regardless of whether the Tennessee Supreme

Court properly found the differences between the January 8, 2018 Protocol were not

substantial,9 the decision in Abdur’Rahman resolved no claim raised in that action

by these Plaintiffs on the merits. Instead, it resolved only claims raised by the

remaining plaintiffs in Abdur’Rahman (including Messrs. Irick and Zagorski),

hereinafter the “Irick/Zagorski Group.”




Cihlar v. Crawford, 39 S.W.3d 172, 180 (Tenn. Ct. App. 2000). See also, Blonder-
Tongue Labs., Inc. v. Univ. of Illinois Found., 402 U.S. 313, 329 (1971).
8Defendants’ assertion of res judicata must be resolved under Tennessee law. See
Gutierrez v. Lynch, 826 F.2d 1534, 1537 (6th Cir. 1987).
9   Though that determination is incorrect, it is not challenged in this motion.

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      The original facial challenge filed in Abdur’Rahman on February 20, 2018,

and signed by Miller, Sutton and West, alleged Protocol B of the January 8, 2018

Protocol created a constitutionally-unacceptable risk of pain and suffering and

explicitly offered Protocol A of the January 8, 2018 Protocol as the feasible and

readily available alternative that substantially reduces the risk of pain. Compl.,

Abdur’Rahman, et al. v. Parker, et al., No. 18-183-III, Davidson County Chancery

Court (Feb. 20, 2018), Doc. 19-4. The same is true for the first amended complaint

filed on April 13, 2018, and also signed by Miller, Sutton and West. It also alleged

Protocol B of the January 8, 2018 protocol created a constitutionally-unacceptable

risk of pain and suffering and explicitly offered Protocol A of the January 8, 2018

Protocol as the feasible and readily available alternative. Abdur’Rahman, supra,

Vol. III, pp. 293-389. Finally, the second, and last, amended complaint signed by

Miller, Sutton, and West which was filed on June 28, 2018, alleged Protocol B of the

January 8, 2018 Protocol created a constitutionally-unacceptable risk of pain and

suffering and explicitly offered Protocol A of the January 8, 2018 Protocol as the

feasible and readily available alternative. Abdur’Rahman, supra, Vol. XI, pp. 1416-

1563. On July 5, 2018, Defendants adopted the protocol being challenged here.

      On July 9, 2018, Plaintiffs Miller, Sutton, and West and the Irick/Zagorski

Group parted ways. On that date, the Irick/Zagorski Group, by their conduct, began

to pursue causes of action arising from the adoption of the July 5, 2018 Protocol by

consent. (In fact, the Chancery Court would later so find and the Irick/Zagorski

Group would not object to its finding.) Miller, Sutton, and West, on the other hand,



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expressly demanded the right to assert new causes of action arising from the July 5,

2018 Protocol and submitted the constitutionality of the July 5, 2018 Protocol was

not properly before the court. They stated, however, the court could and should go

forward with the hearing scheduled to begin that day because their claims against

the January 8, 2018 Protocol remained justiciable under the “capable of repetition

but of avoiding review” exception to the mootness doctrine. Abdur’Rahman, Vol.

XXIV, pp. 32-39. Miller, Sutton and West were not joined by the Irick/Zagorski

Group. Indeed, as discussed below, the Irick/Zagorski Group repeatedly repudiated

Miller, Sutton and West’s objections and arguments throughout the remainder of

the proceedings in Abdur’Rahman.

         The Chancery Court neither ruled on these Defendant’s request to file an

amended complaint arising out of the July 5, 2018 protocol, nor did it decide

whether trial was proceeding under the mootness exception these Defendants had

urged before trial and trial began later that day.

         On July 20, 2018, after the close of all plaintiffs’ case, the Chancery Court

entered an order stating:

         Denial of the Plaintiffs’ Rule 15.0210 motion to amend on the Glossip
         alternative, however, is separate from and does not affect that by
         express consent of the parties, see Defendants’ Notice Of Filing-Lethal

10Tenn. R. Civ. P. Rule 15.02 provides, in the pertinent part, “When issues not
raised by the pleadings are tried by express or implied consent of the parties, they
shall be treated in all respects as if they had been raised in the pleadings. Such
amendment of the pleadings as may be necessary to conform to the evidence and to
raise these issues may be made upon motion of any party . . .” (emphasis added.) See
also, In re Tawanna H., 223 Wis. 2d 572, 581, 590 N.W.2d 276, 280 (Ct. App. 1998)
(Juvenile defendant denied due process by trial court’s sua sponte post-trial
amendment of allegations of delinquency to conform to the evidence).

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         Injection Execution Manual Revised July 5, 2018, the pleadings have
         been amended to conform to the filing on July 5, 2018 and the proof at
         trial that the protocol in issue and on which declaratory judgment is
         sought is the Lethal Injection Execution Manual, Execution Procedures
         For Lethal Injection, Revised July 5, 2018.

Doc. 1-7, PageID# 480-81.

         The next day, Miller, Sutton, and West sought reconsideration of the court’s

order. Abdur’Rahman, Vol. XV, p. 2141. Once again, they argued that the July 5,

2018 Protocol was not before the court and once again, they sought leave to raise

claims arising out of the July 5, 2018 protocol. Abdur’Rahman, Vol. XV, pp. 2145,

2148-49 n.7. As they had before, and as they would again, the Irick/Zagorski Group

refused to join Miller, Sutton, and West.

         The Chancery Court’s July 26, 2018 order denying these Plaintiffs’ motion

did not find (and, given the record just discussed, could not have plausibly found)

that these Plaintiffs had “consented” to the amendment of their existing challenges

arising out of the January 8, 2018 Protocol. The court did find, however, the

Plaintiffs would not be permitted file causes of action arising out of the July 5, 2018

Protocol, because they could have raised the same causes of action against January

8, 2018 protocol because the two protocols were substantially similar.11

Abdur’Rahman, Vol. XVI, p. 2216.



11Again, see infra at fn 10, though they are not, Plaintiffs do not, for the purposes of
this motion, challenge whether the Chancery Court was correct in determining
Plaintiffs could have raised the same claims against the January 8, 2018 protocol
they wished to raise against the July 5, 2018 Protocol and/or whether the difference
between the two protocols are “substantial.” Furthermore, they acknowledge that,
had the court in Abdur Rahman actually resolved the constitutionality of the
January 8, 2018 Protocol, a trial court order denying them leave to leave to amend
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      Later that day, the Chancery Court dismissed the pending complaint. Doc. 1-

8. On the core Eighth Amendment cause of action (Count I), the court held: “The

Inmates who filed this lawsuit have failed to prove the essential element required

that there exists an available alternative. On this basis alone, by United States law,

this lawsuit must be dismissed.” Abdur’Rahman, Vol. XVI, p. 2232; see also, id. at

Vol. XVI, pp. 2239, 2250, 2264.

      Four days later, on July 29, 2018, the Irick/Zagorski Group filed their notice

of appeal. Miller, Sutton, and West did not join them. On August 13, 2018, the

Tennessee Supreme Court set a briefing schedule for the Irick/Zagorski Group. Two

weeks later, on August 27, 2018, the Tennessee Supreme Court added Miller,

Sutton, and West to the same briefing schedule. On appeal, as they had below, the

Irick/Zagorski Group, at Page 33 of their initial brief, stated they did not object to

the Chancery Court’s order amending their pleading to include causes of action

arising from July 5, 2018 Protocol and added they did not join in Miller, Sutton and

West’s motion to reconsider that order. Pl.-Appellants Br. [Irick/Zagorski Group], p.

33, Abdur’Rahman appeal, supra, (Tenn. Sept. 6, 2018).




to add additional claims against the January 8, 2018 Protocol would have been a
decision on the merits for res judicata purposes, had Plaintiffs attempted to raise
claims arising out of the January 8, 2018 protocol in this action. See, e.g.¸Prof'l
Mgmt. Assocs., Inc. v. KPMG LLP, 345 F.3d 1030, 1032 (8th Cir. 2003). Plaintiffs do,
however, submit the Chancery Court’s order did not explicitly or implicitly convert,
or even purport to convert, these Plaintiffs’ claims arising out of the January 8,
2018 Protocol they raised in Abdur’Rahman into claims arising out of the July 5,
2018 Protocol such as they raise here.

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      In contrast, Miller, Sutton, and West’s brief set out in its jurisdictional

statement that they were challenging the January 8, 2018 Protocol. Pl.-Appellants

Br. [Miller/Sutton/West], p. 1, Abdur’Rahman appeal, supra, (Tenn. Sept. 6, 2018),

filed as an attachment in Miller, et al. v. Parker, et al., No. 3:18-cv-781 (M.D. Tenn.

Oct. 4, 2018), Doc. 18-4, PageID# 1093. They also stated, at Page 31 of their Brief,

that the grounds for their action arose on January 8, 2018. Id., PageID# 1123.

Moreover, their brief cited to the January 8, 2018 protocol 74 times (referencing

Protocol A of the January 8, 2018 Protocol 45 times and Protocol B 29 times). Id. in

passim. Moreover, in their answer brief, Defendants never once claimed these

Plaintiffs’ had challenged the July 5, 2018 protocol. Indeed, when responding to

these Plaintiffs’ brief on appeal, Defendants defended not the July 5, 2018 protocol

but Protocol B of the January 8, 2018 protocol. Appellees Br., pp. 58-59,

Abdur’Rahman appeal, supra, (Tenn. Sept. 21, 2018).

       The fact that Miller, Sutton, and West rose only claims arising from the

January 8, 2018 protocol dictates that res judicata does not bar consideration of

Count Three. The transactional standard bars only claims arising from the same

transaction or event. Creech, 281 S.W.3d at 379-80. Further, it should be noted here

that adherence to that rule here to “balance the doctrine's benefits of efficient

proceedings and finality and consistency of judgments with the dangers of unduly

limiting the rights of litigants to have all of their claims heard on merits.” Id.at 381.

Little doubt remains but that Tennessee’s three-drug, Midazolam-based protocol

creates a constitutionally-intolerable risk of severe and unnecessary pain, see



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Motion for Temporary Restraining Order (After Notice) and/or Preliminary

Injunction, Doc. 7, PageID# 1346-47, 1363-76 (summarizing the expert testimony

credited by the trial court in Abdur’Rahman). Because the doctrine bars only prior

parties and their privies, see Creech, 281 S.W.3d at 376, every Tennessee death row

inmate who was not a party to Abdur’Rahman would be free to assert alternative

methods of execution (including those asserted by these Plaintiffs) not considered by

the court in Abdur’Rahman. Each of the alternatives are either patently less painful

or have been so found by other courts. Accordingly, should the Court not follow the

rule from Creech, Defendants will carry out Plaintiff Miller’s sentence of death in

clear violation of the Eighth Amendment and they will do so not because the truth

is otherwise, and not because there is any substantial likelihood the next Tennessee

inmate with the opportunity to challenge the July 5, 2018 Protocol will not prevail,

but because Miller was denied the opportunity here.

      B.      As-Applied Challenge

      Count Three raises an Eighth Amendment claim to the July 5th Protocol as

actually applied and as applied to Plaintiffs. Allegations in the complaint establish

that aspects of, and deviations from, Tennessee’s July 5th Protocol—as applied—

increase the risk of harm.12 See e.g. Complaint, Doc. 1, PageID# 47, ¶230; PageID#

50, ¶¶237-239; PageID# 93, ¶¶453-458; PageID# 110-116. The complaint further

alleges that Plaintiff Miller’s individual physical and medical characteristics




12 Requestsfor information directly related to concerns raised in the complaint
remain outstanding.

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increase the already substantial risk of unnecessary and serious pain caused the

midazolam-based three-drug protocol. See e.g. Complaint, Doc. 1 PageID# 93-110,

¶¶459-550. Injunctive relief based on this count was denied because evidence of

individual characteristics had not been provided to the Court nor did the complaint

or motion for injunctive relief cite authority for as-applied method of execution

challenges.

              1.    Plaintiff Miller’s Individual Characteristics

      An expert is currently preparing a report on about Miller’s medical and

mental health conditions and how they increase the risk of serious pain and

suffering under the midazolam-based three-drug lethal injection protocol.13 The

expert report will be filed with the Court as soon as it is received.

              2.    As-Applied Method of Execution Challenges

      An inmate’s as-applied challenge to a method of execution contends that even

if a protocol does not violate his fellow inmates’ Eighth Amendment rights, it

violates his Eighth Amendment rights because his specific medical conditions create

a risk that the execution protocol will affect him differently than an average healthy

inmate and will cause him severe pain. Jones v. Kelley, 854 F.3d 1009, 1012 (8th

Cir. 2017). The two-part standard of Glossip v. Gross, 135 S. Ct. 2726, 2737 (2015)

(citing Baze v. Rees, 553 U.S. 35, 52 (2008)), that governs facial challenges to a




       13 Attached is a medication administration record maintained by the prison
that sets forth Miller’s prescriptions and conditions. Attachment H.
                                           20

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method of execution also governs as-applied challenges. Bucklew v. Precythe, 883

F.3d 1087, 1091 (8th Cir.), cert. granted, 138 S. Ct. 1706 (2018).14

         Courts have granted stays of execution pending the determination of an as-

applied claim. In Bucklew v. Precythe, No. 17-8151, the United States Supreme

Court entered a stay of execution and will determine the merits of an inmate’s

challenge to Missouri’s one-drug lethal injection protocol as-applied to him. See also

Johnson v. Precythe, 901 F.3d 973, 981 (8th Cir. 2018) (reversing dismissal of an as-

applied claim); Siebert v. Allen, 506 F.3d 1047, 1048 (11th Cir. 2007) (the district

court erred in refusing to stay an execution pending the court’s final disposition of

an as-applied claim).

III.     Count Two

         Plaintiffs allege that Tennessee’s Electrocution Protocol violates the Eighth

Amendment prohibition against cruel and unusual punishment. An injunction was

denied on the basis of ripeness. Order, Doc. 20 PageID# 1700-01. The order denying

an injunction should be reconsidered based new circumstances.

         Defendants must reveal to Miller on November 21st how they intend to

execute him. If defendants reveal they will use the electric chair, Miller has a




14In Bucklew, the Eighth Circuit declined to address the complicated issues of claim
preclusion and the statute of limitations. Bucklew v. Precythe, 883 F.3d 1087, 1099
n.2 (8th Cir.), cert. granted, 138 S. Ct. 1706 (2018); Bucklew v. Lombardi, 783 F.3d
1120, 1122 n.1 (8th Cir. 2015) (en banc) (noting the inmate filed an as-applied
challenge after a facial challenge).



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constitutional right to be heard on his Eighth Amendment claim against

electrocution.

         Information recently learned by Plaintiffs indicates Defendants likely will

use the electric chair, not a lethal injection, to execute Miller. Defendants do not

have an inventory of lethal injection drugs.15 In addition, after the time that

Defendants could have received compounded drugs for the execution of Edmund

Zagorski, a news report was published about a compounding pharmacy that appears

to be Defendants’ drug source. The news reporter contacted the pharmacy and its

majority owner repeatedly for comment. Now that the pharmacy and its majority

owner knows it has been connected to executions in Tennessee, it is unlikely they

will continue to supply Defendants with drugs for executions. Thus, Plaintiffs

reasonably believe that Defendants currently do not have a supplier of midazolam,

vecuronium bromide, and/or potassium chloride. Without a supply of drugs

necessary to carry out the midazolam-based three-drug protocol, Defendants will

utilize the electrocution protocol for Miller’s executions.

         The order denying preliminary injunctive relief also cites a nineteenth

century decision from the Supreme Court that held New York State’s death penalty




15Tennessee’s lethal injection protocol requires an inventory or record of drugs in a
permanently bound ledger. Lethal Injection Protocol 7/5/2018, Doc.1-5, PageID#
411. In response to a public records request that included copies of the drug
inventory, General Counsel for TDOC states: “There are no responsive
records/documents in TDOC’s possession[.]” Letter from Ms. Inglis, Attachment E_.
There has been no response to an additional public records request seeking records
related to the drugs intended for use in the execution of Plaintiff Miller. TPRA
request, Attachment C.

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law providing for electrocution did not violate the Eighth Amendment. In re

Kemmler, 136 U.S. 436, 449 (1890). Kemmler was decided 11 years after Thomas

Edison invented a lightbulb that would burn for 40 hours, and a time when the

Eighth Amendment was not incorporated to the States and there had not been one

execution using an electric chair.16 As of 1977, there have been 12 executions by

electrocution and Death by electrocution has been declared a cruel and unusual

punishment in Nebraska and Georgia. State v. Mata, 275 Neb. 1, 745 N.W.2d 229

(2008); Dawson v. State, 554 S.E.2d 137 (Ga. 2001). The issue has evaded Supreme

Court review due to states changing their execution protocols from electrocution to

lethal injection. See e.g., Bryan v. Moore, 528 U.S. 960 (1999), cert. dismissed as

improvidently granted, 528 U.S. 1133 (2000).

         In addition, the order denying an injunction should be reconsidered because

each case turns on its own facts and Plaintiffs will present evidence on this claim

that is substantially different than the facts considered almost 130 years ago in In

re Kemmler. See Ohio Bell Tel. Co. v. Pub. Utils. Com., 301 U.S. 292, 300 (1937).

IV.      Count One

         Plaintiffs allege execution by lethal injection as required under the July 5th

Protocol constitutes more prolonged and/or severe pain and suffering than execution

by electrocution, the maximum punishment at the time of the crimes to be inflicted

upon Plaintiffs. Complaint, Doc. 1, PageID# 21-26. Injunctive relief based on this




16See also Deborah W. Denno, Adieu to Electrocution, 26 Ohio N.U. L. Rev. 649,
668-72 (2000) (discussing the inappropriate precedential impact of In re Kemmler).

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Count was denied for the reason that, unlike Edmund Zagorski who was executed

on November 1, 2018, Plaintiff Miller has not selected a method of execution nor

have Defendants refused to honor Miller’s selection. Order, Doc. 20 PageID# 1700.

The order denying relief should be reconsidered because the complaint presents

serious questions going to the merit of his ex post facto claim. The complaint alleges

facts demonstrating that both methods of execution in Tennessee are

unconstitutional. It presents uncontested facts establishing the elements of this

Count: that Miller is disadvantage by the current and presumptive execution

method—lethal injection under the July 5th Protocol—because it will inflict greater

punishment than electrocution, which is the maximum, allowable sentence at the

time of the crime. Miller need not select an execution method and the Defendants

need not refuse to honor Miller’s selection in order to demonstrate a likelihood of

success on the merit of the ex post facto claim. As recognized by the Court in

Zagorski v. Haslam, No. 3:18-CV-01035, 2018 WL 4931939, at *4 (M.D. Tenn. Oct.

11, 2018), “There are serious questions . . . concerning whether the lethal injection

protocol with which the state intends to execute the plaintiff is more or less humane

than electrocution.” For these reasons, the Order should be reconsidered and an

injunction should be granted.

                                   CONCLUSION

      WHEREFORE Plaintiff Miller prays this Court set this matter for hearing

and thereafter enter a preliminary injunction enjoining Defendants, their agents,

and assigns from presenting Plaintiff Miller with the “Affidavit Concerning Method



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of Execution” contained in Tennessee’s July 5, 2018 Lethal Injection Protocol and

from carrying out the execution of Plaintiff David Earl Miller presently set for the

6th day of December, 2018, until such time as a final order has been entered herein.

                                               Respectfully submitted,

                                               FEDERAL DEFENDER SERVICES
                                               OF EASTERN TENNESSEE, INC.

                                       BY:     s/Stephen M. Kissinger
                                               Stephen M. Kissinger, BPR#037082
                                               Asst. Federal Community Defender
                                               800 S. Gay Street, Suite 2400
                                               Knoxville, TN 37929
                                               Phone: (865) 637-7979
                                               Facsimile: (865) 637-7999
                                               Stephen_Kissinger@fd.org




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                              CERTIFICATE OF SERVICE

      I hereby certify that on November 19, 2018, this Memorandum in Support of

Motion to Reconsider Order on Motion for Temporary Restraining Order and/or

Preliminary Injunction was filed electronically via the Court’s electronic filing

system upon the following person. Parties may access this filing through the Court’s

electronic filing system.

Scott C. Sutherland
Assistant Attorney General
Law Enforcement Division
P.O. Box 20207
Nashville, TN 37202
(615) 741-2164
Scott.Sutherland@ag.tn.gov

Jennifer L. Smith
Tennessee Attorney General's Office
P. O. Box 20207
Nashville, TN 37202
(615) 741-3491
Email: jennifer.smith@ag.tn.gov

Robert W. Mitchell
Tennessee Attorney General's Office
P. O. Box 20207
Nashville, TN 37202-0207
(615) 741-3491
Fax: (615) 532-6023
Email: robert.mitchell@ag.tn.gov


                                               s/Stephen M. Kissinger
                                               Stephen M. Kissinger




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